           08-22511-rdd          Doc 19   Filed 05/28/08    Entered 05/28/08 20:54:02                                             Main Document
                                                           Pg 1 of 27
B6A (Official Form 6A) (12/07)

In re:   Shlomo     Rachel Braun                                                                                   Case No. 08-22511
                                                                  ,
                                                                                                                                               (If known)
                                            Debtors



                                    SCHEDULE A - REAL PROPERTY




                                                                               HUSBAND, WIFE, JOINT
                                                                                                                   CURRENT VALUE
                                                                                                                    OF DEBTOR'S




                                                                                  OR COMMUNITY
                                                                                                                     INTEREST IN
               DESCRIPTION AND                                                                                   PROPERTY, WITHOUT                    AMOUNT OF
                                                 NATURE OF DEBTOR'S
                 LOCATION OF                                                                                       DEDUCTING ANY                       SECURED
                                                INTEREST IN PROPERTY                                              SECURED CLAIM
                  PROPERTY                                                                                                                              CLAIM
                                                                                                                    OR EXEMPTION




 38 Cosgrove Avenue                        Fee Owner                                 W                                      $ 330,000.00                $ 329,211.08
 West Haverstraw, NY

 Home                                                                                  J                                    $ 750,000.00                $ 694,688.15
 65 Reagan Road
 Spring Valley, NY 10977

                                                                       Total                              $1,080,000.00
                                                                                                      (Report also on Summary of Schedules.)
            08-22511-rdd                Doc 19           Filed 05/28/08     Entered 05/28/08 20:54:02             Main Document
                                                                           Pg 2 of 27
B6B (Official Form 6B) (12/07)

In re      Shlomo        Rachel Braun                                                ,              Case No. 08-22511
                                                                                                                                     (If known)
                                                               Debtors



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                              HUSBAND, WIFE, JOINT
                                                                                                                                      CURRENT VALUE OF
                                                                                                                                      DEBTOR'S INTEREST




                                                                                                                OR COMMUNITY
                                                                                                                                      IN PROPERTY, WITH-
                                                                         DESCRIPTION AND LOCATION                                     OUT DEDUCTING ANY
                                                  NONE
              TYPE OF PROPERTY                                                 OF PROPERTY                                               SECURED CLAIM
                                                                                                                                         OR EXEMPTION




  1. Cash on hand                                                                                                   J                              500.00
  2. Checking, savings or other financial                 M&T Bank                                                  J                             5,000.00
     accounts, certificates of deposit, or
     shares in banks, savings and loan, thrift,           Acct #9844802059
     building and loan, and homestead
     associations, or credit unions, brokerage
     houses, or cooperatives.
  3. Security deposits with public utilities,     X
     telephone companies, landlords, and
     others.
  4. Household goods and furnishings,                     Household Furnishings                                     J                             2,000.00
     including audio, video, and computer
     equipment.
  5. Books, pictures and other art objects,       X
     antiques, stamp, coin, record, tape,
     compact disc, and other collections or
     collectibles.
  6. Wearing apparel.                                     General wearing apparel                                   J                              200.00
  7. Furs and jewelry.                                    Engagement ring and watch                                 J                             2,500.00
  8. Firearms and sports, photographic, and       X
     other hobby equipment.
  9. Interests in insurance policies. Name                Life Insurance                                            J                                0.00
     insurance company of each policy and
     itemize surrender or refund value of
     each.
        Interests in insurance policies. Name             on Husband death benefit                                  J                                0.00
        insurance company of each policy and
        itemize surrender or refund value of              1,000,000.00
        each.
 10. Annuities. Itemize and name each             X
     issuer.
 11. Interests in an education IRA as defined     X
     in 26 U.S.C. § 530(b)(1) or under a
     qualified State tuition plan as defined in
     26 U.S.C. § 529(b)(1). Give particulars.
     (File separately the record(s) of any such
     interest(s). 11 U.S.C. § 521(c).)
 12. Interests in IRA, ERISA, Keogh, or other     X
     pension or profit sharing plans. Give
     particulars.
 13. Stock and interests in incorporated and              B & S Management Corp.                                    J                                0.00
     unincorporated businesses. Itemize.
                                                          65 Reagan Road
                                                          Spring Valley, NY 10977
        Stock and interests in incorporated and           Bat Management Corp.                                      J                                0.00
        unincorporated businesses. Itemize.
                                                          65 Reagan Road
                                                          Spring Valley, NY 10977
        Stock and interests in incorporated and           Bridge View Associates, Corp.                            H                                 0.00
        unincorporated businesses. Itemize.
                                                          65 Reagan Road
                                                          Spring Valley, NY 10977
            08-22511-rdd                  Doc 19           Filed 05/28/08       Entered 05/28/08 20:54:02            Main Document
                                                                               Pg 3 of 27
B6B (Official Form 6B) (12/07) -- Cont.

In re      Shlomo        Rachel Braun                                                    ,             Case No. 08-22511
                                                                                                                                        (If known)
                                                                 Debtors



                                          SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)




                                                                                                                 HUSBAND, WIFE, JOINT
                                                                                                                                         CURRENT VALUE OF
                                                                                                                                         DEBTOR'S INTEREST




                                                                                                                   OR COMMUNITY
                                                                                                                                         IN PROPERTY, WITH-
                                                                            DESCRIPTION AND LOCATION                                     OUT DEDUCTING ANY
                                                    NONE
              TYPE OF PROPERTY                                                    OF PROPERTY                                               SECURED CLAIM
                                                                                                                                            OR EXEMPTION




 13. Stock and interests in incorporated and                JJB Realty Management Inc.                                H                                 0.00
     unincorporated businesses. Itemize.
        Stock and interests in incorporated and             Singer Management                                         H                                 0.00
        unincorporated businesses. Itemize.
        Stock and interests in incorporated and             Tri Valley Estates LLC                                    H                                 0.00
        unincorporated businesses. Itemize.
                                                            50 % Owner of Corp.
        Stock and interests in incorporated and             Ultimate Builders Ltd.                                     J                                0.00
        unincorporated businesses. Itemize.
                                                            65 Reagan Road
                                                            Spring Valley, NY 10977
 14. Interests in partnerships or joint             X
     ventures. Itemize.
 15. Government and corporate bonds and             X
     other negotiable and nonnegotiable
     instruments.
 16. Accounts receivable.                           X
 17. Alimony, maintenance, support, and             X
     property settlements to which the debtor
     is or may be entitled. Give particulars.
 18. Other liquidated debts owed to debtor          X
     including tax refunds. Give particulars.
 19. Equitable or future interests, life estates,   X
     and rights or powers exercisable for the
     benefit of the debtor other than those
     listed in Schedule A - Real Property.
 20. Contingent and noncontingent interests         X
     in estate of a decedent, death benefit
     plan, life insurance policy, or trust.
 21. Other contingent and unliquidated              X
     claims of every nature, including tax
     refunds, counterclaims of the debtor,
     and rights to setoff claims. Give
     estimated value of each.
 22. Patents, copyrights, and other                 X
     intellectual property. Give particulars.
 23. Licenses, franchises, and other general        X
     intangibles. Give particulars.
 24. Customer lists or other compilations           X
     containing personally identifiable
     information (as defined in 11 U.S.C. §
     101(41A)) provided to the debtor by
     individuals in connection with obtaining a
     product or service from the debtor primarily
     for personal, family, or household
     purposes.
 25. Automobiles, trucks, trailers, and other       X
     vehicles and accessories.
 26. Boats, motors, and accessories.                X
 27. Aircraft and accessories.                      X
          08-22511-rdd               Doc 19           Filed 05/28/08      Entered 05/28/08 20:54:02                Main Document
                                                                         Pg 4 of 27
B6B (Official Form 6B) (12/07) -- Cont.

In re   Shlomo        Rachel Braun                                                  ,            Case No. 08-22511
                                                                                                                                      (If known)
                                                           Debtors



                                      SCHEDULE B - PERSONAL PROPERTY
                                                                     (Continuation Sheet)




                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                       CURRENT VALUE OF
                                                                                                                                       DEBTOR'S INTEREST




                                                                                                                 OR COMMUNITY
                                                                                                                                       IN PROPERTY, WITH-
                                                                      DESCRIPTION AND LOCATION                                         OUT DEDUCTING ANY
                                               NONE
            TYPE OF PROPERTY                                                OF PROPERTY                                                   SECURED CLAIM
                                                                                                                                          OR EXEMPTION




 28. Office equipment, furnishings, and        X
     supplies.
 29. Machinery, fixtures, equipment and        X
     supplies used in business.
 30. Inventory.                                X
 31. Animals.                                  X
 32. Crops - growing or harvested. Give        X
     particulars.
 33. Farming equipment and implements.         X
 34. Farm supplies, chemicals, and feed.       X
 35. Other personal property of any kind not   X
     already listed. Itemize.

                                                       2   continuation sheets attached                Total                                       $ 10,200.00

                                                                                                           (Include amounts from any continuation sheets
                                                                                                           attached. Report total also on Summary of
                                                                                                           Schedules.)
          08-22511-rdd            Doc 19         Filed 05/28/08          Entered 05/28/08 20:54:02               Main Document
                                                                        Pg 5 of 27
B6C (Official Form 6C) (12/07)


In re   Shlomo      Rachel Braun                                                        ,
                                                                                                     Case No.    08-22511
                                                                                                                             (If known)
                                                              Debtors



                       SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:              Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                              $136,875
   11 U.S.C. § 522(b)(2)
   11 U.S.C. § 522(b)(3)


                                                                                             VALUE OF                      CURRENT
                                                           SPECIFY LAW
                                                                                             CLAIMED                  VALUE OF PROPERTY
        DESCRIPTION OF PROPERTY                           PROVIDING EACH
                                                                                            EXEMPTION                 WITHOUT DEDUCTING
                                                            EXEMPTION
                                                                                                                          EXEMPTION


Home                                        CPLR § 5206(a)                                     100,000.00                            750,000.00
65 Reagan Road
Spring Valley, NY 10977
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                                                                                                     Pg 6 of 27
B6D (Official Form 6D) (12/07)


 In re   Shlomo      Rachel Braun                                                                             ,
                                                                                                                          Case No.           08-22511
                                                         Debtors                                                                                                          (If known)


                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

                    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


               CREDITOR'S NAME AND                                                                      DATE CLAIM WAS                                                    AMOUNT OF




                                                                     HUSBAND, WIFE, JOINT
                 MAILING ADDRESS                                                                       INCURRED, NATURE                                                  CLAIM WITHOUT                UNSECURED




                                                                                                                                             UNLIQUIDATED
                                                                       OR COMMUNITY




                                                                                                                                CONTINGENT
                                                                                                                                                                                                      PORTION, IF



                                                          CODEBTOR




                                                                                                                                                            DISPUTED
             INCLUDING ZIP CODE AND                                                                       OF LIEN, AND                                                     DEDUCTING
               AN ACCOUNT NUMBER                                                                        DESCRIPTION AND                                                     VALUE OF                     ANY
              (See Instructions, Above.)                                                              VALUE OF PROPERTY                                                   COLLATERAL
                                                                                                        SUBJECT TO LIEN


 ACCOUNT NO.                                                          W 01/10/2008                                                                                                65,241.50                       0.00
 Chase                                                                                      Mortgage
                                                                                            38 Cosgrove Avenue
 P.O.Box 15153
                                                                                            West Haverstraw, NY
 Wilmington, DE 19886                                                                       __________________________
                                                                                            VALUE $330,000.00

 Forster & Garbus
 P.O.Box 9030
 Farmingdale, NY 11735
 ACCOUNT NO. 004-116-300-167-46                                       W 12/21/2007                                                                                               312,848.92                       0.00
 Chase                                                                                      Third Lien on Residence
                                                                                            Home
 P.O.Box 78035
                                                                                            65 Reagan Road
 Phoenix, AZ 85062                                                                          Spring Valley, NY 10977
                                                                                            __________________________
                                                                                            VALUE $750,000.00

 ACCOUNT NO.                                                          W                                                                                                          263,969.58                       0.00
 Citibank                                                                                   Mortgage
                                                                                            38 Cosgrove Avenue
                                                                                            West Haverstraw, NY
                                                                                            __________________________
                                                                                            VALUE $330,000.00


 ACCOUNT NO. 645925                                                     H 12/17/2007                                                                                             145,182.73                       0.00
 HSBC Mortgage Corporation(USA)                                                             First Lien on Residence
                                                                                            Home
 Suite 0241
                                                                                            65 Reagan Road
 Buffalo, NY 14270                                                                          Spring Valley, NY 10977
                                                                                            __________________________
                                                                                            VALUE $750,000.00




 1        continuation sheets
          attached
                                                                                            Subtotal
                                                                                            (Total of this page)
                                                                                                                                                                         $       787,242.73 $                      0.00



                                                                                            Total                                                                        $                        $
                                                                                            (Use only on last page)


                                                                                                                                                                       (Report also on Summary of (If applicable, report
                                                                                                                                                                       Schedules)                 also on Statistical
                                                                                                                                                                                                  Summary of Certain
                                                                                                                                                                                                  Liabilities and
                                                                                                                                                                                                  Related Data.)
             08-22511-rdd           Doc 19   Filed 05/28/08                                 Entered 05/28/08 20:54:02                                        Main Document
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B6D (Official Form 6D) (12/07)- Cont.


 In re   Shlomo       Rachel Braun                                                                  ,
                                                                                                                Case No.           08-22511
                                               Debtors                                                                                                          (If known)


                   SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                       (Continuation Sheet)




                                                           HUSBAND, WIFE, JOINT
                CREDITOR'S NAME AND                                                           DATE CLAIM WAS                                                    AMOUNT OF
                  MAILING ADDRESS                                                            INCURRED, NATURE                                                  CLAIM WITHOUT               UNSECURED




                                                                                                                                   UNLIQUIDATED
                                                             OR COMMUNITY




                                                                                                                      CONTINGENT
                                                                                                                                                                                           PORTION, IF




                                                CODEBTOR




                                                                                                                                                  DISPUTED
              INCLUDING ZIP CODE AND                                                            OF LIEN, AND                                                     DEDUCTING
                AN ACCOUNT NUMBER                                                             DESCRIPTION AND                                                     VALUE OF                    ANY
               (See Instructions, Above.)                                                   VALUE OF PROPERTY                                                   COLLATERAL
                                                                                              SUBJECT TO LIEN


 ACCOUNT NO. 4386-5419-1043-8620                            W 12/07/2007                                                                                               236,656.50                       0.00
 Wachovia Bank, N.A.                                                              Second Lien on Residence
                                                                                  Home
 P.O.Box 96074
                                                                                  65 Reagan Road
 Charolotte, NC 28296                                                             Spring Valley, NY 10977
                                                                                  __________________________
                                                                                  VALUE $750,000.00




 Sheet no. 1 of 1 continuation                                                    Subtotal
 sheets attached to Schedule of                                                   (Total of this page)
                                                                                                                                                               $       236,656.50 $                      0.00
 Creditors Holding Secured
 Claims

                                                                                  Total                                                                        $ 1,023,899.23 $                         0.00
                                                                                  (Use only on last page)


                                                                                                                                                             (Report also on Summary of (If applicable, report
                                                                                                                                                             Schedules)                 also on Statistical
                                                                                                                                                                                        Summary of Certain
                                                                                                                                                                                        Liabilities and
                                                                                                                                                                                        Related Data.)
               08-22511-rdd             Doc 19          Filed 05/28/08          Entered 05/28/08 20:54:02                        Main Document
                                                                               Pg 8 of 27
B6E (Official Form 6E) (12/07)

In re       Shlomo        Rachel Braun                                                   ,                               Case No.      08-22511
                                                                Debtors                                                                              (If known)


                 SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

        Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.


TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)
        Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).


        Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

        Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

        Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

        Certain farmers and fishermen

        Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

        Deposits by individuals

      Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).

        Taxes and Certain Other Debts Owed to Governmental Units
        Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

        Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

        Claims for Death or Personal Injury While Debtor Was Intoxicated

     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
another substance. 11 U.S.C. § 507(a)(10).

     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.
                                                                    1 continuation sheets attached
               08-22511-rdd            Doc 19           Filed 05/28/08                                Entered 05/28/08 20:54:02                                                 Main Document
                                                                                                     Pg 9 of 27
B6E (Official Form 6E) (12/07) – Cont.


In re     Shlomo        Rachel Braun                                                                                                                                      Case No.       08-22511
                                                                                                                 ,                                                                                  (If known)
                                                                    Debtors


               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                (Continuation Sheet)




                                                                  HUSBAND, WIFE, JOINT
             CREDITOR'S NAME,                                                               DATE CLAIM WAS                                                               AMOUNT            AMOUNT          AMOUNT




                                                                    OR COMMUNITY




                                                                                                                                               UNLIQUIDATED
                                                                                                                                  CONTINGENT
              MAILING ADDRESS                                                                INCURRED AND                                                                OF CLAIM        ENTITLED TO         NOT


                                                       CODEBTOR




                                                                                                                                                              DISPUTED
            INCLUDING ZIP CODE,                                                             CONSIDERATION                                                                                 PRIORITY       ENTITLED TO
           AND ACCOUNT NUMBER                                                                  FOR CLAIM                                                                                                 PRIORITY, IF
           (See instructions above.)                                                                                                                                                                         ANY



 ACCOUNT NO.




Sheet no. 1 of 1 continuation sheets attached to Schedule of
                                                                                                                                 Subtotals
                                                                                                                     (Totals of this page)
                                                                                                                                                                  $          0.00 $             0.00 $           0.00
Creditors Holding Priority Claims


                                                                                                                                Total
                                                                                         (Use only on last page of the completed
                                                                                         Schedule E. Report also on the Summary of
                                                                                                                                                                 $           0.00
                                                                                         Schedules.)
                                                                                                                                  Total
                                                                                         (Use only on last page of the completed                                                     $          0.00 $           0.00
                                                                                         Schedule E. If applicable, report also on the
                                                                                         Statistical Summary of Certain Liabilities
                                                                                         and Related Data. )
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                                                                   Pg 10 of 27
B6F (Official Form 6F) (12/07)

In re    Shlomo        Rachel Braun                                                                                                       Case No. 08-22511
                                                                                                                 ,
                                                           Debtors                                                                                        (If known)

        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

                    Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                       HUSBAND, WIFE, JOINT
                 CREDITOR'S NAME,                                                                                DATE CLAIM WAS                                                                         AMOUNT OF




                                                                         OR COMMUNITY




                                                                                                                                                                              UNLIQUIDATED
                                                                                                                                                                 CONTINGENT
                  MAILING ADDRESS                                                                                 INCURRED AND                                                                            CLAIM




                                                            CODEBTOR




                                                                                                                                                                                             DISPUTED
                INCLUDING ZIP CODE,                                                                            CONSIDERATION FOR
               AND ACCOUNT NUMBER                                                                                     CLAIM.
                (See instructions above.)                                                                     IF CLAIM IS SUBJECT TO
                                                                                                                 SETOFF, SO STATE

ACCOUNT NO.                                                            W                        01/10/2008                                                                                                      0.00




ACCOUNT NO.                                                              H                      10/10/2007                                                                                                      0.00




ACCOUNT NO.                                                              H                                                                                                                                    211.00
 All State Idemnity Company                                                                     Insurance
 Credit Collection Services
 Two wells Avenue, Dept. 9135
 Newton, MA 02459

 Credit Collection Services
 Two wells Avenue
 Dept. 9135
 Newton, MA 02459
ACCOUNT NO.         xxxx-xxxx-53-1007                                    H                      12/11/07                                                                                                   46,465.27
 American Express                                                                               Credit Card
 P.O.Box 2855
 New York, NY 10116



 Nationwide Credit Inc.
 3010 Corporate Way.
 Miramar, FL 33025

                9    Continuation sheets attached

                                                                                                                                                                Subtotal                         $         46,676.27



                                                                                                                                                                                                 $
                                                                                                                                                                        Total
                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                              (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                     Summary of Certain Liabilities and Related Data.)
               08-22511-rdd              Doc 19          Filed 05/28/08 Entered 05/28/08 20:54:02                                                                     Main Document
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B6F (Official Form 6F) (12/07) - Cont.

In re      Shlomo        Rachel Braun                                                                                                          Case No. 08-22511
                                                                                                                      ,
                                                               Debtors                                                                                         (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                         AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                            CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                  DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.        3732-7814-5452-000                           X W                                 11/22/2007                                                                                                 36,161.54
 American Express                                                                                    Business Credit Card
 P.O.Box 2855
 New York, NY 10116



 Law Offices of Mitchell N. Kay
 P.O.Box 9006
 Smithtown, NY 11787
 ACCOUNT NO.        xxxx-xxxx-xx37-1003                                       H                      12/26/2007                                                                                                  5,474.53
 American Express                                                                                    Business Credit Card
 P.O.Box 2855
 New York, NY 10116



 NCO Financial Systems
 507 Prudential Road
 Horsham, PA 19044
 ACCOUNT NO.        4036-4750-0140-0575                          X H                                 01/06/2008                                                                                                  2,999.88
 Bank of America                                                                                     Business Credit Card
 P.O.Box 15184
 Wilmington, DE 19850



 ACCOUNT NO.        4170-0801-1096-3244                          X H                                 01/05/2008                                                                                                 11,318.96
 Bank of America                                                                                     Business Credit Card
 P.O.Box 15710
 Wilmington, DE 19886




Sheet no. 1 of 9 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                         $         55,954.91
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                      $
                                                                                                                                                                             Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
               08-22511-rdd              Doc 19          Filed 05/28/08 Entered 05/28/08 20:54:02                                                                     Main Document
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B6F (Official Form 6F) (12/07) - Cont.

In re      Shlomo        Rachel Braun                                                                                                          Case No. 08-22511
                                                                                                                      ,
                                                               Debtors                                                                                         (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                         AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                            CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                  DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.        4036-4750-0136-3492                          X H                                 01/06/2008                                                                                                 13,468.78
 Bank of America                                                                                     Business Credit Card
 P.O.Box 15184
 Wilmington, DE 19850



 ACCOUNT NO.        4888-6080-0017-4069                                     W                        09/24/2007                                                                                                 21,237.60
 Bank of America                                                                                     Credit Card
 P.O.Box 15726
 Wilmington, DE 19886



 Frederick J. Hanna & Associates PC
 1427 Rosewell Rd.
 Marietta, GA 30062
 ACCOUNT NO.        4192-0000-0230-1364                          X H                                 12/26/2007                                                                                                 36,541.44
 Bank of America                                                                                     Business Credit Card
 P.O.Box 15710
 Wilmington, DE 19886



 ACCOUNT NO.                                                     X H                                 01/10/2008                                                       X                                        682,350.00
 Builders Capital LLC                                                                                Guarantee Business Construction Loan-
 90 Crystal Run Rd.                                                                                  Principal Owing
 Suite 400
 Middletown, NY 10941




Sheet no. 2 of 9 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                         $        753,597.82
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                      $
                                                                                                                                                                             Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
               08-22511-rdd              Doc 19          Filed 05/28/08 Entered 05/28/08 20:54:02                                                                     Main Document
                                                                       Pg 13 of 27
B6F (Official Form 6F) (12/07) - Cont.

In re      Shlomo        Rachel Braun                                                                                                          Case No. 08-22511
                                                                                                                      ,
                                                               Debtors                                                                                         (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                         AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                            CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                  DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.        4147-2020-2904-4094                                      H                       01/07/2008                                                                                                  5,201.28
 Chase                                                                                               Credit Card
 Cardmember Services
 P.O.Box 15153
 Wilmington, DE 19886


 ACCOUNT NO.        5582-5086-1054-3578                                     W                                                                                                                                    7,820.29
 Chase                                                                                               Credit Card
 Cardmember Services
 P.O.Box 15153
 Wilmington, DE 19886

 Intergrated Portfolio
 Management Inc.
 P.O.Box 3352
 Glen Ellyn, IL 60138
 ACCOUNT NO.        5082-2900-3728-7387                          X W                                 12/21/2007                                                                                                  5,274.05
 Citibusiness Card                                                                                   Buisness Credit Card
 P.O.Box 183065
 Columbus, OH 43218



 ACCOUNT NO.        400-109-2145                                 X H                                 12/31/2007                                                                                                     44.18
 Citizens Bank                                                                                       Checking Charges
 P.O.Box 9799
 Providence, RI 02940



 Associated Credit Services, Inc.
 105B South St.
 P.O.Box 9100
 Hopkinton, MA 01748


Sheet no. 3 of 9 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                         $         18,339.80
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                      $
                                                                                                                                                                             Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
               08-22511-rdd              Doc 19          Filed 05/28/08 Entered 05/28/08 20:54:02                                                                     Main Document
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B6F (Official Form 6F) (12/07) - Cont.

In re      Shlomo        Rachel Braun                                                                                                          Case No. 08-22511
                                                                                                                      ,
                                                               Debtors                                                                                         (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                         AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                            CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                  DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.        880-0001-8251010-0101                        X H                                 12/27/2007                                                       X                                        103,130.71
 Citizens Bank                                                                                       Guarantee Business Commercial Loan
 P.O.Box 9799
 Providence, RI 02940



 ACCOUNT NO.        4266-8411-2378-2276                                      H                       01/06/2008                                                                                                  9,346.55
 Country Wide                                                                                        Credit Card
 Cardmember Services
 P.O.Box 15153
 Wilmington, DE 19886


 ACCOUNT NO.        xxxx-xxxx-xxxx-8193                                     W                        12/26/2007                                                                                                  8,725.86
 Discover Card                                                                                       Credit Card
 P.O.Box 15251
 Wilmington, DE 19886



 ACCOUNT NO.        4266-9020-1816-8904                                      H                       01/06/2008                                                                                                 12,853.34
 Disney Rewards                                                                                      Credit Card
 Cardmember Services
 P.O.Box 15153
 Wilmington, DE 19866




Sheet no. 4 of 9 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                         $        134,056.46
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                      $
                                                                                                                                                                             Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
               08-22511-rdd              Doc 19          Filed 05/28/08 Entered 05/28/08 20:54:02                                                                     Main Document
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B6F (Official Form 6F) (12/07) - Cont.

In re      Shlomo        Rachel Braun                                                                                                          Case No. 08-22511
                                                                                                                      ,
                                                               Debtors                                                                                         (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                         AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                            CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                  DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.        5466-4103-0247-8737                                                              11/23/2007                                                                                                 20,846.46
 GM Card/HSBC Card Services                                                                          Credit Card
 P.O.Box 37281
 Baltimore, MD 21297



 National American Credit Corp.
 1 Allied Dr.
 Trevose, PA 19053
 ACCOUNT NO.                                                     X H                                 11/21/2007                                                                                                    135.29
 HSBC Bank                                                                                           Checking Charges
 P.O.Box 80026
 Salines, CA 93912



 ACCOUNT NO.        7824-1496-0215-5297                                      H                       12/13/2007                                                                                                  1,939.67
 HSBC Bank USA                                                                                       Credit Card
 P.O.Box 80026
 Salinas, CA 93912



 ACCOUNT NO.        7824-1497-0307-7325                          X H                                 12/10/2007                                                       X                                        102,561.59
 HSBC Bank USA                                                                                       Guarantee Business Loan
 P.O.Box 80026
 Salines, CA 93912




Sheet no. 5 of 9 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                         $        125,483.01
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                      $
                                                                                                                                                                             Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
               08-22511-rdd              Doc 19          Filed 05/28/08 Entered 05/28/08 20:54:02                                                                     Main Document
                                                                       Pg 16 of 27
B6F (Official Form 6F) (12/07) - Cont.

In re      Shlomo        Rachel Braun                                                                                                          Case No. 08-22511
                                                                                                                      ,
                                                               Debtors                                                                                         (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                         AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                            CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                  DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.        5215-3188-0325-0873                                      H                       01/06/2008                                                                                                  2,145.27
 HSBC Bank USA                                                                                       Credit Card
 P.O.Box 80026
 Salinas, CA 93912



 ACCOUNT NO.        7824-1497-0306-6674                          X W                                 11/21/2007                                                       X                                         47,274.90
 HSBC Bank USA                                                                                       Guarantee Business revolving line
 P.O.Box 37278
 Baltimore, MD 21297



 Kirschenbaum & Phillips, P.C.
 3000 Hempstead Turnpike
 4th Floor
 Levitton, NY 11756
 ACCOUNT NO.                                                     X H                                 01/10/2008                                                       X                                       1,221,326.18
 Liberty Savings Bank                                                                                Guarantee Business Construction
 c/o Hardy Credit co.                                                                                Loan-Principal Owing
 12276 San Jose Blvd. Suite 207
 Jacksonville, FL. 32223

 Hardy Credit Co.
 ACCOUNT NO.                                                                  H                      01/10/2008                                                                                                250,000.00
 Mezimen Corp.                                                                                       Loan
 P.O.Box 258
 Monsey, NY 10952




Sheet no. 6 of 9 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                         $       1,520,746.35
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                      $
                                                                                                                                                                             Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
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B6F (Official Form 6F) (12/07) - Cont.

In re      Shlomo        Rachel Braun                                                                                                          Case No. 08-22511
                                                                                                                      ,
                                                               Debtors                                                                                         (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                         AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                            CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                  DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.                                                     X H                                 12/31/2007                                                                                                    118.16
 Orange & Rockland Utilities                                                                         Utilities
 390 West Route 59
 Spring Valley, NY 10977



 M.L. Zager P.C.
 543 Broadway
 P.O.Box 948
 Monticello, NY 12701
 ACCOUNT NO.                                                     X H                                 12/25/2007                                                                                                  3,877.35
 Oxford Health Plans                                                                                 Health Insurance
 c/o RMS 77 Hartland St., St. 401
 East hartford, CT 06128




 ACCOUNT NO.                                                                   J                     06/30/2007                                                                                                    535.61
 Preferred Mutual Insurance Company                                                                  Insurance Bill
 1 Preferred Way
 New Berlin, NY 13411



 Access Receivables Management
 P.O.Box 9801
 Townson, MD 21284
 ACCOUNT NO.                                                     X W                                 10/11/2007                                                                                                 18,007.18
 Toyota Motor Credit Corporation                                                                     Financed Car Defincency
 P.O.Box 5236
 Carol Stream, IL 60197




Sheet no. 7 of 9 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                         $         22,538.30
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                      $
                                                                                                                                                                             Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
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B6F (Official Form 6F) (12/07) - Cont.

In re      Shlomo        Rachel Braun                                                                                                          Case No. 08-22511
                                                                                                                      ,
                                                               Debtors                                                                                         (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                         AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                            CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                  DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.                                                                W                        11/14/2007                                                                                                     82.08
 Wachovia Bank                                                                                       Checking Charges
 P.O.Box 96074
 Charolette, NC 28296



 LDG Financial Services, LLC
 4553 Winters Chapel Rd.
 Atlanta, GA 30360
 ACCOUNT NO.                                                                  H                      12/10/2007                                                                                                    634.20
 Wachovia Bank                                                                                       Checking Charges
 P.O.Box 96074
 Charolette, NC 28296



 ACCOUNT NO.        4386-5519-3017-1382                          X W                                 12/26/2007                                                       X                                         26,876.13
 Wachovia Bank, N.A.                                                                                 Guarantee Business Line of credit
 P.O.Box 96074
 Charolette, NC 28296



 Linton Distasio Adams P.C.
 1720 Mineral Spring Rd.
 P.O.Box 451
 Reading, PA 19603
 ACCOUNT NO.        4313-0821-6138-9004                                      H                       01/07/2008                                                                                                 16,297.11
 Wachovia Fia Card Services                                                                          Credit Card
 P.O.Box 15726
 Wilmington, DE 19886




Sheet no. 8 of 9 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                         $         43,889.52
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                      $
                                                                                                                                                                             Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
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B6F (Official Form 6F) (12/07) - Cont.

In re      Shlomo        Rachel Braun                                                                                                          Case No. 08-22511
                                                                                                                      ,
                                                               Debtors                                                                                         (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                         AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                            CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                  DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.        4264-5180-1271-0350                                     W                        07/11/2007                                                                                                   7,962.29
 Wachovia FIA Card Services                                                                          Credit Card
 P.O.Box 15726
 Wilmington, DE 19886



 ACCOUNT NO.        4856-2002-2188-5562                          X H                                 12/11/2007                                                                                                 11,100.51
 Wells Fargo                                                                                         Business Credit Card
 P.O.Box 348750
 Scarmento, CA 95834



 ACCOUNT NO.                                                     X H                                 12/31/2007                                                       X                                         13,717.11
 Woodards Concrete                                                                                   Supplier personal guarantee
 P.O.Box 8 Lybolt Rd.
 Bullville, NY 10915




Sheet no. 9 of 9 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                         $          32,779.91
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                      $        2,754,062.35
                                                                                                                                                                             Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
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B6G (Official Form 6G) (12/07)


In re:   Shlomo      Rachel Braun                                                   ,        Case No.   08-22511
                                                        Debtors                                                    (If known)


 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         Check this box if debtor has no executory contracts or unexpired leases.


                                                                                        DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
              OF OTHER PARTIES TO LEASE OR CONTRACT.                                    NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                            NUMBER OF ANY GOVERNMENT CONTRACT.


                                                                             residential leases on two debtor properties -- list to be
                                                                             provided
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                                                            Pg 21 of 27
B6H (Official Form 6H) (12/07)


In re: Shlomo     Rachel Braun                                              Case No.    08-22511
                                                                  ,                                 (If known)
                                                      Debtors


                                            SCHEDULE H - CODEBTORS
         Check this box if debtor has no codebtors.




                   NAME AND ADDRESS OF CODEBTOR                               NAME AND ADDRESS OF CREDITOR


   Ultimate Builders                                             American Express
   65 Reagan Road                                                P.O.Box 2855
   Spring Valley, NY 10977                                       New York, NY 10116

   Bridge View Associates Corp.                                  Bank of America
   65 Reagan Road                                                P.O.Box 15710
   Spring Valley, NY 10977                                       Wilmington, DE 19886
   Bridge View Associates Corp.                                  Bank of America
   65 Reagan Road                                                P.O.Box 15184
   Spring Valley, NY 10977                                       Wilmington, DE 19850
   Bridge View Associates Corp.
   65 Reagan Road
   Spring Valley, NY 10977
   Samuel Freidman

   Ultimate Builders Ltd.                                        Bank of America
   65 Reagan Road                                                P.O.Box 15710
   Spring Valley, NY 10977                                       Wilmington, DE 19886
   Tri Valley Estates LLC                                        Builders Capital LLC
                                                                 90 Crystal Run Rd.
                                                                 Suite 400
                                                                 Middletown, NY 10941
   Ultimate Builders Ltd.                                        Citibusiness Card
   65 Reagan Road                                                P.O.Box 183065
   Spring Valley, NY 10977                                       Columbus, OH 43218

   Bridge View Associates Corp.                                  Citizens Bank
   65 Reagan Road                                                P.O.Box 9799
   Spring Valley, NY 10977                                       Providence, RI 02940
   Bridge View Associates Corp.
   65 Reagan Road
   Spring Valley, NY 10977
   Bridge View Associates Corp.                                  HSBC Bank
   65 Reagan Road                                                P.O.Box 80026
   Spring Valley, NY 10977                                       Salines, CA 93912

   B&S Management Corp.                                          HSBC Bank USA
   65 Reagan Road                                                P.O.Box 37278
   Spring Valley, NY 10977                                       Baltimore, MD 21297
   Bridge View Associates Corp.                                  HSBC Bank USA
   65 Reagan Road                                                P.O.Box 80026
   Spring Valley, NY 10977                                       Salines, CA 93912
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B6H (Official Form 6H) (12/07) -Cont.


In re: Shlomo     Rachel Braun                                              Case No.    08-22511
                                                                  ,                                 (If known)
                                                      Debtors


                                            SCHEDULE H - CODEBTORS
         Check this box if debtor has no codebtors.




                   NAME AND ADDRESS OF CODEBTOR                               NAME AND ADDRESS OF CREDITOR

   Bridge View Associates Corp.                                  Liberty Savings Bank
   65 Reagan Road                                                c/o Hardy Credit co.
   Spring Valley, NY 10977                                       12276 San Jose Blvd. Suite 207
                                                                 Jacksonville, FL. 32223
   Bridge View Associates Corp.                                  Orange & Rockland Utilities
   65 Reagan Road                                                390 West Route 59
   Spring Valley, NY 10977                                       Spring Valley, NY 10977

   Bridge View Associates Corp.                                  Oxford Health Plans
   65 Reagan Road                                                c/o RMS 77 Hartland St., St. 401
   Spring Valley, NY 10977                                       East hartford, CT 06128
   Ultimate Builders Ltd.                                        Toyota Motor Credit Corporation
   65 Reagan Road                                                P.O.Box 5236
   Spring Valley, NY 10977                                       Carol Stream, IL 60197
   B&S Management Corp.                                          Wachovia Bank, N.A.
   65 Reagan Road                                                P.O.Box 96074
   Spring Valley, NY 10977                                       Charolette, NC 28296

   Bridge View Associates Corp.                                  Wells Fargo
   65 Reagan Road                                                P.O.Box 348750
   Spring Valley, NY 10977                                       Scarmento, CA 95834
   Bridge View Associates                                        Woodards Concrete
   65 Reagan Road                                                P.O.Box 8 Lybolt Rd.
   Spring Valley, NY 10977                                       Bullville, NY 10915
   Ultimate Builders Ltd.
   65 Reagan Road
   Spring Valley, NY 10977
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B6I (Official Form 6I) (12/07)                                    Pg 23 of 27
 In re     Shlomo Rachel Braun                                                       ,                  Case No.      08-22511
                                                                 Debtors                                                               (If known)


            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.



 Debtor’s Marital
                                                                   DEPENDENTS OF DEBTOR AND SPOUSE
 Status:       Married
                                                RELATIONSHIP(S):                                                                  AGE(S):


 Employment:                                            DEBTOR                                                        SPOUSE
 Occupation                     Property manager
 Name of Employer                Baron Management
 How long employed              4 months
 Address of Employer            32 Decatur Avenue
                                Monsey, New York
 INCOME: (Estimate of average or projected monthly income at time
              case filed)                                                                                    DEBTOR                          SPOUSE


 1. Monthly gross wages, salary, and commissions                                                    $                 4,800.00 $                        0.00
      (Prorate if not paid monthly.)
 2. Estimate monthly overtime                                                                       $                      0.00 $                       0.00

 3. SUBTOTAL                                                                                        $                4,800.00      $                   0.00
 4. LESS PAYROLL DEDUCTIONS
         a. Payroll taxes and social security                                                       $                   336.00 $                        0.00
                                                                                                    $                     0.00 $                        0.00
         b. Insurance
         c. Union dues                                                                              $                     0.00 $                        0.00
         d. Other (Specify)                                                                         $                      0.00 $                       0.00

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                  $                   336.00 $                        0.00
 6. TOTAL NET MONTHLY TAKE HOME PAY                                                                 $                 4,464.00 $                        0.00
 7. Regular income from operation of business or profession or farm
         (Attach detailed statement)                                                                $                      0.00 $                       0.00
 8. Income from real property                                                                       $                 1,900.00 $                        0.00
 9. Interest and dividends                                                                          $                     0.00 $                        0.00
 10. Alimony, maintenance or support payments payable to the debtor for the
      debtor’s use or that of dependents listed above.                                              $                      0.00 $                       0.00
 11. Social security or other government assistance
 (Specify)                                                                                          $                      0.00 $                       0.00
 12. Pension or retirement income                                                                   $                      0.00    $                    0.00
 13. Other monthly income
 (Specify)                                                                                          $                      0.00 $                       0.00
 14. SUBTOTAL OF LINES 7 THROUGH 13                                                                 $               1,900.00      $                    0.00
 15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                   $                 6,364.00 $                        0.00
 16. COMBINED AVERAGE MONTHLY INCOME: (Combine column                                                                    $ 6,364.00
 totals from line 15)
                                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                                 Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document.:
  NONE
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                                                                 Pg 24 of 27
B6J (Official Form 6J) (12/07)

  In re Shlomo Rachel Braun                                                          ,                          Case No.            08-22511
                                                          Debtors                                                                  (If known)

                 SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
         Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate
any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may
differ from the deductions from income allowed on Form22A or 22C.
       Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
       expenditures labeled "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)                                                        $                  6,714.00
      a. Are real estate taxes included?          Yes                     No
       b. Is property insurance included?         Yes                     No
 2. Utilities: a. Electricity and heating fuel                                                                                $                    600.00
               b. Water and sewer                                                                                             $                      0.00
               c. Telephone                                                                                                   $                    100.00
               d. Other                                                                                                       $                      0.00
 3. Home maintenance (repairs and upkeep)                                                                                     $                     50.00
 4. Food                                                                                                                      $                  1,500.00
 5. Clothing                                                                                                                  $                     50.00
 6. Laundry and dry cleaning                                                                                                  $                     50.00
 7. Medical and dental expenses                                                                                               $                    250.00
 8. Transportation (not including car payments)                                                                               $                    200.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                          $                     25.00
10. Charitable contributions                                                                                                  $                    100.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
                  a. Homeowner’s or renter’s                                                                                  $                    200.00
                  b. Life                                                                                                     $                      0.00
                  c. Health                                                                                                   $                      0.00
                  d. Auto                                                                                                     $                    200.00
                  e. Other                                                                                                    $                       0.00
 12. Taxes (not deducted from wages or included in home mortgage payments)
 (Specify)                                                                                                                    $                      0.00
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                a. Auto                                                                                                       $                    450.00
                  b. Other                                                                                                    $                       0.00
 14. Alimony, maintenance, and support paid to others                                                                         $                      0.00
 15. Payments for support of additional dependents not living at your home                                                    $                      0.00
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                             $                      0.00
 17. Other tuition                                                                                                            $                     900.00

 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
 if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)                                          $                 11,389.00

 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


 20. STATEMENT OF MONTHLY NET INCOME
           a. Average monthly income from Line 15 of Schedule I                                                               $                  6,364.00
           b. Average monthly expenses from Line 18 above                                                                     $                 11,389.00
           c. Monthly net income (a. minus b.)                                                                                $                 -5,025.00
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B6 Summary (Official Form 6 - Summary) (12/07)

                                                           United States Bankruptcy Court
                                                             Southern District of New York


In re Shlomo         Rachel Braun                                                      ,                    Case No.     08-22511
                                                               Debtors
                                                                                                            Chapter       11

                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from
Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities
and Related Data” if they file a case under chapter 7, 11, or 13.




      NAME OF SCHEDULE                     ATTACHED        NO. OF SHEETS                   ASSETS                      LIABILITIES                     OTHER
                                            (YES/NO)

 A - Real Property                             NO                        1       $         1,080,000.00

 B - Personal Property                        YES                        3       $            10,200.00

 C - Property Claimed
     as Exempt                                 NO                        1

 D - Creditors Holding                         NO                        2                                    $          1,023,899.23
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                           NO                        2                                    $                      0.00
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured              YES                        10                                   $           2,754,062.35
     Nonpriority Claims

 G - Executory Contracts and                   NO                        1
     Unexpired Leases

 H - Codebtors                                 NO                        2

 I - Current Income of                                                                                                                         $            6,364.00
     Individual Debtor(s)                      NO                        1

 J - Current Expenditures of                   NO                        1
     Individual Debtor(s)                                                                                                                      $          11,389.00

                                                                      24         $         1,090,200.00       $         3,777,961.58
                                    TOTAL
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Form 6 - Statistical Summary (12/07)

                                                       United States Bankruptcy Court
                                                        Southern District of New York

In re   Shlomo     Rachel Braun                                                    ,
                                                                                                     Case No.    08-22511
                                                                Debtors                              Chapter      11


          STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
           If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.


                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.


This information is for statistical purposes only under 28 U.S.C. § 159.



Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                           Amount
 Domestic Support Obligations (from Schedule E)                             $ 0.00
 Taxes and Certain Other Debts Owed to Governmental Units (from
 Schedule E)                                                                $ 447.00

 Claims for Death or Personal Injury While Debtor Was
 Intoxicated (from Schedule E) (whether disputed or undisputed)             $ 0.00

 Student Loan Obligations (from Schedule F)                                 $ 0.00

 Domestic Support, Separation Agreement, and Divorce Decree
 Obligations Not Reported on Schedule E.                                    $ 0.00

 Obligations to Pension or Profit-Sharing, and Other Similar Obligations
 (from Schedule F)                                                          $ 0.00

                                                                TOTAL        $ 447.00

State the following:

 Average Income (from Schedule I, Line 16)                                  $ 0.00

 Average Expenses (from Schedule J, Line 18)                                $ 0.00
 Current Monthly Income (from Form 22A Line 12; OR, Form
 22B Line 11; OR, Form 22C Line 20 )                                        $ 0.00


State the following:

 1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column
                                                                                                   $0.00

 2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY”
 column.                                                                    $ 447.00
 3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY,
 IF ANY” column                                                                                    $0.00
 4. Total from Schedule F                                                                          $3,106,827.47

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                      $3,106,827.47
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                                                                Pg 27 of 27
B6 Declaration (Official Form 6 - Declaration) (12/07)


  In re Shlomo        Rachel Braun                                                     ,                                Case No.   08-22511
                                                           Debtors                                                                            (If known)



                          DECLARATION CONCERNING DEBTOR'S SCHEDULES
                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                        26
sheets, and that they are true and correct to the best of my knowledge, information, and belief.

Date: 5/28/2008                                                                Signature: s/ Shlomo
                                                                                            Shlomo
                                                                                                                        Debtor

Date: 5/28/2008                                                                Signature: s/ Rachel Braun
                                                                                            Rachel Braun
                                                                                                               (Joint Debtor, if any)
                                                                              [If joint case, both spouses must sign]


       DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP
                                                                     (NOT APPLICABLE)




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C §§ 152 and 3571.
